            Case 4:03-cr-40053-JPG                     Document 248 Filed 12/28/09                     Page 1 of 3            Page ID
%'AO 2450                                                        #482
             (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet I



                                     UNITED STATES DISTRICT COURT                                                                ~
                                                          Southern District of Illinois                     .,,,          A...        4'< b
                                                                                                              o~/~~ ~l'                     ,~
        UNITED STATES OF AMERICA                                         Judgment in a Criminal Case             )'It~'t ~       <(I
                   v.                                                    (For Revocation of Probation or supervise~~                   ~-
              SED RIC C. ANDERSON
                                                                                                                        +); \9); 7\9); -~
                                                                                                                          0"" ~I'C "9'I'C
                                                                                                                              O~,.. 0'" C'
                                                                         Case No. 4:03CR40053-003                               ~/c.:.e-,., 0(.1
                                                                                                                                     S' «Ij ,,::>?-
                                                                         USM No. 06193-025                                                   "0/&

                                                                           Judith a. Kuenneke, AFPD
                                                                                               Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           as alleged below                  of the tenn of supervision.
D   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number             Nature of Violation                                                              Violation Ended
Statutory                       The defendant committed the offense of battery & Disorderly                   11/25/2009

                                Conduct

Standard # 2                    The defendant failed to submit a monthly report in 10/2009                    10/31/2009



       The defendant is sentenced as provided in pages 2 through _---::3:....-_ of this judgment. The sentence is imposed pursuant to
the Sentencing Refonn Act of 1984.
D   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address unt11 all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economIC cIrcumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 1332                        12/18/2009
                                                                                             Date of Imposition of Judgment



                                                                                   ~{di~
Defendant's Year of Birth:          1982

City and State of Defendant's Residence:
Racine, Wisconsin 53404
                                                                           J. Phil Gilbert                               District Judge
                                                                                                 Name and Title of Judge



                                                                                   )
                                                                                    12- 4/: c 7           Date
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          (Rev. 12/07) Judgment in a Criminal Case for Revocations
          Sheet 1A

                                                                                        Judgment-Page   _..=2_ of     3
DEFENDANT: SEDRIC C. ANDERSON
CASE NUMBER: 4:03CR40053-003

                                                     ADDITIONAL VIOLATIONS

                                                                                                               Violation
Violation Number              Nature of Violation                                                             Concluded
Standard # 6                  Defendant failed to notify probation of obtaining employment                    11/30/2009



Special                       The defendant failed to reside in Residential Reentry Center                    10/20/2009



Special                       Defendant failed to attend scheule mental health treatment session              11/18/2009



Special                       Defendant failed to make monthly payments towards balance of fine & costs       11/30/2009
                Case 4:03-cr-40053-JPG                     Document 248 Filed 12/28/09               Page 3 of 3          Page ID
  AO 2450                                                            #484
                (Rev. 12/07) Judgment in a Criminal Case for Revocations
                Sheet 2- Imprisonment

                                                                                                   Judgment -   Page _...;3~_ of    3
  DEFENDANT: SEDRIC C. ANDERSON
  CASE NUMBER: 4:03CR40053-003


                                                                    IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
  total term of :
11 months




       "    The court makes the following recommendations to the Bureau of Prisons:

That the defendant participate in a drug treatment program.




       "    The defendant is remanded to the custody of the United States Marshal.

       o    The defendant shall surrender to the United States Marshal for this district:
            o    at    _________ 0                         a.m.      o     p.m.    on
            o    as notified by the United States Marshal.

       o    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            o    before 2 p.m. on
            o    as notified by the United States Marshal.
            o    as notified by the Probation or Pretrial Services Office.

                                                                           RETURN

  I have executed this judgment as follows:




            Defendant delivered on                                                      to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                                  By
                                                                                             DEPUTY UNITED STATES MARSHAL
